Case 3:1O-cV-O4586-|\/|LC-DEA _Document 47 Filed 11/12/10 Page 1 of 3 Page|D: 223

UNITED STATES DISTRICT COURT
DISTRlCT OF NEW JERSEY

 

CON'I`INENTAL [NSURANCE COMPANY,

Plainti`f‘f, CV. ACTION 10-4586 (MLC)

V.

SECURI ENTERPRISES, INC, SCOTT SANDERS,

MARCIE LYN URY-SANDERS, FRANK COVINO,

TERRY L. YOUNG, SR., KAMARA STEWART, NOTICE OF
MAURICE PERDOME, KEVI'N BROTHERS, MOTION
TASHA RATTRAY, PARlS NIMBHARD,

DEMETRIUSE FINCHER, JUCLA ADAMS,

GREGORY TERRY, JOI-IN and JANE DOES 1-5,

Fictitious names of persons who conspired to

conceal true nature of Securi Enterprises, lnc.’s

business JOI-EN DOES 6-10, Fictitious names of

persons who may have claim or claims against

Securi Enterprises, Inc. arising out of motor vehicle

Incidents from April 2, 2008 to January 5, 2009,

JANE DOES 6-10, Fictitious names of persons

who may have claim or claims against Securi

Enterprises, Inc. arising out of motor vehicle

Incidents from April 2, 2008 to Januai"y 5, 2009,

Defendants.

 

X

PLEASE TAKE NOTICE that, upon the attached affidavit of Jeffrey C. Hoffman
executed on November 11, 2010, and the exhibits attached thereto, and upon all prior
proceedings had herein, Defendants Securi Enterprises, lnc., Scott Sanders and Marcie
Lyn Ury-Sanders will move this Court, on December 6, 2010 at 10:00 a.m., at the
Courthouse located at 402 East State Street, Room 2020, Trenton, New Jersey, for an
order (]) staying the above-captioned action pending the outcome of a pending criminal
investigation in Which Mr. Sanders is a target, or, alternatively, (2) staying the
depositions of Mr. and Mrs. Sanders for six months, with such stay to be revisited at the

end of that period.

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PLEASE 'I`AKE FURTHER NOTICE that pursuant to L.Civ.R.'/‘S(l)(a)

answering papers, if any, are to be served upon the undersigned counsel no later than

Novernber 22, 2010.

Dated:

TO:

New York, New York
Novernber 11, 2010

Nancy Lern, Esq.

HOFFMAN & POLLOK LLP

William A. Rome (9045)
A!torneysfor Defendants Securf
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Attomeysfor Plaintz`jj`
Continental Insurance Company

